Indiana Southern Civil Cover Sheet                                           https://ecf.insd.uscourts.gov/webapps/js44/cvcovcr.htnil
            Case 1:18-cv-00092-JMS-MPB Document 1-1 Filed 01/11/18 Page 1 of 2 PageID #: 6

          JS 44 (Rev 09/10)



                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF INDIANA


                                               CIVIL COVER SHEET

          This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of
          the United States in September 1974. The data is required for the use of the Clerk of Court for the
          purpose of initiating the civil docket sheet. The information contained herein neither replaces nor
          supplements the filing and service of pleadings or other papers as required by law.


           Plaintiff(s):                       Defendant(s):
           First Listed Plaintiff:             First Listed Defendant:
          Judy A. Holt ;                       Wal-Mart Stores, Inc. ;
           1 Citizen of This State; Indiana    5 Incorporated and Principal Place of Business in Another State;
           County of Residence: Marion         Arkansas
           County                              County of Residence: Outside This District




           County Where Claim For Relief Arose: Marion County



           Plaintiffs Attorney(s):             Defendant's Attorney(s):
           Vaughn A. Wamsley (Judy Holt)       Lesley A. Pfleging ( Wal-Mart Stores, Inc.)
           Vaughn A. Wamsley, P.C.             Lewis Wagner, LLP
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           Carmel, Indiana 46032               Indianapolis, Indiana 46202
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           Fax: 317-581-1234                   Fax: 317-630-2790
           Email: kbrooks@pilegal.com          Email: lpfleging@lewiswagner.com


           Jeremy S. Baber                     Lynsey F. David
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           Edward R. Reichert
           Vaughn A. Wamsley, P.C.
           851 S. Rangeline Rd.




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Indiana Southern Civil Cover Sheet                                                             https://ecf.insd.uscourts.gov/webapps/js44/cvcover.html
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           Carmel, Indiana 46032
           Phone: 317-846-1080
           Fax: 317-581-1234
          Email: ereichert@pilegal.com




          Basis of Jurisdiction: 4. Diversity of Citizenship



          Citizenship of Principal Parties (Diversity Cases Only)

                Plaintiff: 1 Citizen of This State

                Defendant: 5 Incorporated and Principal Place of Business in Another State



          Origin: 2. Removed From State Court

                State Removal County: Marion County

                State Removal Case Number: 49D12-1712-CT-045250

          Nature of Suit: 360 Other Personal Injury Actions

           Cause of Action: 28 U.S.C. 1332, 1441, 1446; Removal of Slip and Fall
           (28:1332pi)

          Requested in Complaint

                Class Action: Not filed as a Class Action

                Monetary Demand (in Thousands):

                Jury Demand: Yes

                Related Cases: Is NOT a refiling of a previously dismissed action




          Signature: Lynsey F. David

          Date: 1/11/2018

                   If any of this information is incorrect, please close this window and go back to the Civil Cover Sheet Input form
                   to make the correction and generate the updated JS44. Once corrected, print this form, sign and date it, and
                   submit it with your new civil action.




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